     Case 2:12-cv-01035-TFM Document 1 Filed 07/24/12 Page 1 of 22




IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT
                       OF PENNSYLVANIA

                                 CIVIL DIVISION


JAMES FRAZIER, Jr.,                     )
                                        )
      Plaintiff,                        )
                                        )
              v.                        )           No.
                                        )
ERIC K. SHINSEKI, Secretary of          )
Veterans Affairs,                       )
                                        )
      Defendants.                       )



                                             Type of Pleading:
                                             COMPLAINT IN CIVIL ACTION


                                             Filed on Behalf of:
                                             James Frazier,
                                             Plaintiff

                                             Counsel of Record for This Party:
                                             D. Scott Lautner, Esquire
                                             Pa. I.D. No.: 80134

                                             68 Old Clairton Road
                                             Pittsburgh, Pennsylvania 15236

                                             (412)650-8820
     Case 2:12-cv-01035-TFM Document 1 Filed 07/24/12 Page 2 of 22




IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT
                       OF PENNSYLVANIA

                                   CIVIL DIVISION


JAMES FRAZIER, Jr.,                          )
                                             )
       Plaintiff,                            )
                                             )
               v.                            )              No.
                                             )
ERIC K. SHINSEKI, Secretary of               )
Veterans Affairs,                            )
                                             )
       Defendants.                           )



                                NOTICE TO DEFEND

You have been sued in Court. If you wish to defend against the claims set forth in the
following pages, you must take action within twenty (20) days after this Complaint and
Notice are served, by entering a written appearance personally or by attorney and filing in
writing with the Court your defenses or objections to the claims set forth against you.
Your are warned that if you fail to do so, the case may proceed without you and a
judgment may be entered against you by the Court without further notice for any money
claimed in the Complaint or for any other claim or relief requested by the Plaintiff. You
may lose money or property or other rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU
DO NOT HAVE A LAWYER OR CANNOT AFFORD ONE, GO TO OR
TELEPHONE THE OFFICE SET FORTH BELOW TO FIND OUT WHERE YOU
CAN GET LEGAL HELP.


                        LAWYER REFERRAL SERVICE
                    ALLEGHENY COUNTY BAR ASSOCIATION
                        KOPPERS BUILDING, SUITE 400
                           436 SEVENTH AVENUE
                           PITTSBURGH, PA 15219
                                (412) 261-0518
     Case 2:12-cv-01035-TFM Document 1 Filed 07/24/12 Page 3 of 22




IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT
                       OF PENNSYLVANIA

                                   CIVIL DIVISION


JAMES FRAZIER, Jr.,                             )
                                                )
       Plaintiff,                               )
                                                )
               v.                               )           No.
                                                )
ERIC K. SHINSEKI, Secretary of                  )
Veterans Affairs,                               )
                                                )
       Defendants.                              )


                          COMPLAINT IN CIVIL ACTION

       AND NOW COMES, Plaintiff, James Frazier, by and through his counsel, D.

Scott Lautner, Esquire, and avers as follows:


                                       PARTIES

   1. Plaintiff, James Frazier, is an adult individual with a primary residence located at

       P.O Box 224, McKeesport, PA 15134.

   2. Defendant, Eric K. Shinseki, is the Secretary of Veterans Affairs, with a business

       address of 810 Vermont Avenue, NW-Washington, DC 20420.

                                        VENUE

   3. Venue is proper in the Western District of Pennsylvania as all parties are located

       in Allegheny County, Pennsylvania, including Plaintiff’s employer, and all

       incidents related to this action took place in Allegheny County.
  Case 2:12-cv-01035-TFM Document 1 Filed 07/24/12 Page 4 of 22




                                   JURISDICTION

4. Jurisdiction is proper as the United States District Court has original jurisdiction

   under 28 U.S.C. §1331 – Federal Question.



                                      FACTS

5. James Frazier, an African American, served as a United States Marine for twenty

   nine (29) years, both active and reserve. As a result, he became a confident and

   responsible leader.

6. James Frazier began his Transportation career in 1989 at a WG-5703-07 level

   Operator. He quickly ascended the ranks in the Motor Vehicle departments due to

   his vast qualifications and licenses, including but not limited to, a CDL Class A

   and a Master Certified Instructor qualification.

7. Frazier’s occupational specialty was Motor Transportation Operations Chief.

   This position was a GS-5703-09 Motor Vehicle Operator Specialist classification.

   He held the position from March 2002 until 2005 and completed his probationary

   period. Only one probationary period is required to be completed under the

   federal regulations.

8. Frazier was hired by Veterans Administration Pittsburgh Healthcare System

   (hereinafter VAPHS) out May 9, 2010. His title at that time was WS-5703-09

   Motor Vehicle Operator Supervisor. A copy of the Motor Vehicle Operator

   Supervisor Position Description is hereby incorporated by reference and attached

   as Exhibit “A.”
  Case 2:12-cv-01035-TFM Document 1 Filed 07/24/12 Page 5 of 22




9. James Frazier interviewed with William Frazier, a white male, for the position. A

   copy of James’s Competency Evaluation is hereby incorporated by reference and

   attached as Exhibit “B.”

10. When Frazier began at VAPHS, the department in which he was placed was

   fraught with a lack of organization, instances of fraud, waste, and abuse, and

   many other substantial issues.

11. One example of the fraud, waste and abuse within this department was that one of

   the employees, during one of the worst winters in this area in recent history,

   diverted funds that were needed for emergency snow removal to purchase an

   unneeded and extravagant tool box costing $13,970.66. He violated federal

   purchasing and contracting laws by circumventing the $3,000.00 sole source

   purchase limit and buying it piece by piece through the submission of multiple

   purchase requests (form 2237) to obtain and assemble the single end item. Copies

   of the invoices are hereby incorporated by reference and attached as Exhibit “C.”

12. Another example of the fraud, waste and abuse within this section before

   Frazier’s hire was one these employees (Brian Stewart and Jack Rugh)

   continuously violated Code of Federal Regulations (CFR) Part 102-34.325 by

   purchasing 93 octane gasolines for use in ground equipment to include but not

   limited to; lawn mowers, weed whackers, personal vehicles, and government

   vehicles.

13. Brian Stewart is currently under investigation for misappropriation of heavy

   equipment.
  Case 2:12-cv-01035-TFM Document 1 Filed 07/24/12 Page 6 of 22




14. Frazier immediately put a stop to this unlawful behavior when he began at

   VAPHS which led to his employees resenting him, labeling him a bully and filing

   false complaints and grievances against him.

15. Frazier put a stop to alcohol abuse on VAPHS’S property and also to the use of

   equipment, parts, and supplies for personal vehicles. A number of these

   employees have been disciplined for this behavior.

16. Frazier was hired to bring supervision, leadership, and accountability to the

   department, directly feeding off of his military experience.

17. Several white employees, including but not limited to, David Dingus, Ricky

   Hoak, Gregory Johnson, James Fernacz, and Brian Stewart worked together to

   degrade Frazier and refused to listen to his commands.

18. After approximately five (5) months of working at VAPHS, Frazier received an

   “on-the-spot” cash award and an excellent to exceptional performance appraisal.

   Frazier’s “on-the-spot” cash award certificate is hereby incorporated by reference

   and attached as Exhibit “D.” Frazier’s performance appraisal is hereby

   incorporated by reference and attached as Exhibit “E.”

19. The above white employees filed bogus claims against Frazier with the American

   Federation of Government Employees Union (AFGE). The AFGE never

   investigated any of the claims yet called for Frazier’s discipline. A copy of the

   allegations are hereby incorporated by reference and attached as Exhibit “F.”

20. Supervisor William Frazier was disciplined and eventually terminated in June of

   2011 for asking subordinates to write false reports about James Frazier. James
  Case 2:12-cv-01035-TFM Document 1 Filed 07/24/12 Page 7 of 22




   was never placed back into the supervisor position that he held prior to William

   Frazier’s and others’ actions.

21. Frazier also enforced the VAPHS dress codes for subordinate employees, and a

   complaint was filed by Michelle Martin because of this enforcement.

22. When Frazier would need to discipline employees, he was met with resistance by

   his supervisor, William Frazier.

23. William Frazier was also having secret meetings with James Frazier’s white

   subordinate employees, behind his back. William Frazier was telling the white

   employees, including Hoak, Stewart, Rhobeck, and Johnson, to file harassment

   and intimidation complaints against James, in order to have him removed.

24. Frazier had requested a reassignment to both the VAPHS director and CEO and

   the VISN-4 Director but was declined on several occasions without reason.

25. On or about October 26, 2010, a handful of white employees made a false

   allegation, as previously mentioned, against Frazier to the AFGE, who then asked

   for Frazier’s removal. The incident complained of occurred on a day that Frazier

   was not at work. William Frazier did nothing to clear up the mistake. A copy of

   the allegations are hereby incorporated by reference and attached as Exhibit “F.”

26. On or about November 3, 2010, Frazier was temporarily demoted and reassigned

   based on the false allegations from October 26. The position was a lower skill

   level. A copy of the Memorandum reassigning Plaintiff is hereby incorporated by

   reference and attached as Exhibit “G.”

27. On December 8, 2010, Frazier met with Terry Gerigk-Wolf, the director and CEO

   of VAPHS, who had heard of racial problems, both past and present, in the
  Case 2:12-cv-01035-TFM Document 1 Filed 07/24/12 Page 8 of 22




   Transportation and Grounds section that Frazier was supervising and told Frazier

   of these past issues.

28. On March 8, 2011, Frazier was handed a 90 day promotion/placement/follow-up

   supervisor evaluation which was back dated to August, 2010 and there was white-

   out where “outstanding” was checked and altered to mere “satisfactory.” As

   mentioned above, Frazier received praise and awards in September 2010; one

   month after this evaluation was dated. Frazier’s evaluation is hereby incorporated

   by reference and attached as Exhibit “H.”

29. William Frazier has had numerous grievances and complaints filed against him,

   and he was continually promoted in spite thereof.

30. On or about April 22, 2011, Frazier’s demotion became permanent, moving him

   to the position of Motor Vehicle Operator based solely upon statements of Ricky

   Hoak, David Houston, and Michael Rohbeck, all of whom Frazier had disciplined

   in the past for poor performance, insubordination, and unlawful activity. These

   are the same individuals that conspired with William Frazier for which he was

   eventually terminated.

31. James Frazier has been forced into a position where he now works with the same

   employees that he once supervised, and as a result, is harassed on a daily basis.

32. The decision to demote was based upon Failure to Satisfactorily Complete

   Supervisory Probation Period pursuant to 5 CFR 315.907. Frazier was not on

   probation because he was exempt from the probationary period for serving as an

   Official Federal Civilian Managerial Position for three years. Pursuant to 5 CFR

   315.904 (c), “Employees who, as of the date this requirement is effective, are
  Case 2:12-cv-01035-TFM Document 1 Filed 07/24/12 Page 9 of 22




   serving or have served in Federal civilian supervisory or managerial positions

   without time limitation, or in time limited supervisory or managerial positions

   under an official assignment exceeding 120 days, are exempt from its provisions,

   except that supervisors who are assigned to managerial positions may, according

   to agency regulations, be required to serve a probationary period for managers.”

   VAPHS failed and/or refused to investigate the details of this position, and James

   provided proof of his managerial status to VAPHS.

33. Additionally, James was demoted to a level not in accordance with CFR

   regulations.

34. In rendering their decision, the VAPHS Administrative Investigative Board only

   interviewed a few select white employees, and failed to interview all the potential

   witnesses, as requested by Frazier. This was done in violation of the VA

   Handbook 0700.

35. In July 2011, the VAPHS Administrative Investigation Board investigated

   William Frazier and determined that he had lied to the Board and had undermined

   James Frazier’s success as Motor Vehicle Operator Supervisor. William Frazier

   was terminated for cause; however, James never received placement into his prior

   position nor any other consideration. The final decision regarding William

   Frazier is hereby incorporated by reference and attached as Exhibit “I.”

36. Robert Schollaert, a white male, was placed into the position of Acting Motor

   Vehicle Operator Supervisor, even though he was unqualified. Robert was

   another white employee who had given James Frazier issues in the past.

   Schollaert made sure that James did not get the Motor Vehicle Operator
 Case 2:12-cv-01035-TFM Document 1 Filed 07/24/12 Page 10 of 22




   Supervisor position that had opened up. Schollaert inappropriately used James’s

   demotion against him in violation of CFR regulations.

37. In late July, the Motor Vehicle Operator Supervisor WS 7 position was posted for

   VAPHS employees to apply. Frazier applied and was fully qualified. The date

   that applications were due was extended for no reason even though a qualified

   individual, James Frazier, had applied.

38. On or about September 21, 2011, Frazier received an interview and was

   unofficially told that he had scored the highest of the four applicants that were

   interviewed. No decision was rendered, purposefully removing James Frazier’s

   chances of promotion.

39. On or about September 30, 2011, Frazier received an “Outstanding” Performance

   Evaluation. Frazier continued to excel at VAPHS despite the negative treatment

   and discriminatory treatment.

40. On or about December 5, 2011, the Motor Vehicle Operator Supervisor position

   was cancelled without reason and without hire. Frazier filed a grievance with the

   AFGE regarding the cancelled position.

41. On December 20, 2011, the Motor Vehicle Operator Supervisor position was

   again posted, this time nationally. This was in violation of the Master Labor

   Agreement.

42. On or about December 23, 2011, Clifford Dow retired from his position as Motor

   Vehicle Operator WG-5703-07 position. Frazier requested to fill the vacancy as

   he was overqualified for the position, yet it was a higher rank then he currently
 Case 2:12-cv-01035-TFM Document 1 Filed 07/24/12 Page 11 of 22




   held. Frazier possesses a Pennsylvania CDL Class A license with passenger

   endorsement.

43. On December 28, 2011, Frazier’s request was denied even though white

   employees had been allowed to temporarily fill positions pending announcement

   of the position’s vacancy.

44. James Frazier filed a Complaint with the EEO on January 25, 2012 regarding his

   harassment with VAPHS.

45. On or about February 9, 2012, a list was posted by Robert Schollaert for a Motor

   Vehicle Operator WG-5703-07. The job posting required a commercial driver’s

   license (CDL). James Frazier applied and was the most senior Motor Vehicle

   Operator on the list.

46. Instead of promoting Frazier, current Motor Vehicle Operator’s, at that pay scale,

   were told to take overtime at a substantial and unnecessary cost to VAPHS.

47. In the past, white employees, including but not limited to Kruezer, were given

   temporary promotions which ultimately led to full time jobs.

48. The WS 7 Motor Vehicle Supervisor position that was initially posted in July

   2011 was filled by Harry Taylor, an unqualified individual.

49. Harry Taylor officially was given the position on April 16, 2012 while still

   unqualified for the position. He received a substantial increase in compensation

   and benefits. Mr. Taylor never had management experience and had only driven

   a short truck previously, possessing no additional licenses nor having any

   management or supervisory experience. Taylor is an African American, and his
 Case 2:12-cv-01035-TFM Document 1 Filed 07/24/12 Page 12 of 22




   placement into this position was a result of James’s complaints filed with the EEO

   based upon racial discrimination.

50. Over the course of Mr. Frazier’s employment, there have been numerous

   discriminatory actions taken against him which similarly situated Caucasian

   employees have not suffered, including but not limited to:

       a. Rick Hoak passing around a criminal report with an individual with the

          same name as James Frazier who was not, in fact, the Plaintiff James

          Frazier;

       b. Citing James Frazier for a weapons violation for teaching his subordinates

          how to use a tire thumper, a tool commonly utilized by truck drivers to do

          a quick check of tire inflation;

       c. Falsely alleging that James Frazier monitored employees through the

          phone system;

       d. Punishing James through demotion for being a stern supervisor while Jack

          Rugh, a white employee who formerly held James’s position, was never

          disciplined for constant yelling and use of profanity in the department;

       e. On or about March 22, 2012, David Houston filing a false police report

          against James;

       f. On or about June 1, 2012, Ricky Hoak switched James to a bus that was

          unfit, unsafe, and illegal for travel as none of the lights functioned. When

          James refused to drive the bus, Hoak got in his face in a threatening

          manner and attempted to get James to have a physical altercation with

          him. James walked away and reported the incident to management.
  Case 2:12-cv-01035-TFM Document 1 Filed 07/24/12 Page 13 of 22




 51. As a result of the harassment, intimidation, and other unlawful conduct of

    VAPHS and its employees/agents, James Frazier has suffered personally,

    financially, physically, emotionally, and professionally.

 52. James Frazier’s EEO Complaint process was closed on May 8, 2012. The

    decision was in favor of VAPHS; however, additional testimony and complete

    information was not utilized in the process.

 53. On or about June 22, 2012, James Frazier’s former supervisor, William Frazier,

    was given new employment with VAPHS in a position equal in stature to his

    previous position with VAPHS. William Frazier was terminated for cause for

    discriminating against James. See Exhibit “I.”

 54. James Frazier has also been informed that Amber Mesoras, newly promoted to

    head of Human Resources, has stated, “How does he [James Frazier] think that

    we would ever promote him back to a supervisor position after his demotion?”

    This evidences a clear motive to undermine Frazier’s ability to improve himself

    against VAPHS and CFR regulations.



COUNT I – VIOLATION OF PLAINTIFF’S CIVIL RIGHTS PURSUANT TO 42
               U.S.C. § 1983 – RACE DISCRIMINATION
              James Frazier v. Eric K. Shinseki, Secretary of Veterans Affairs


 55. Paragraphs 1 through 54 are hereby incorporated by reference as if set forth at

    length.

 56. VAPHS, its agents, and employees are State “actors” for purposes of the statute

    and were acting under color of state law.
     Case 2:12-cv-01035-TFM Document 1 Filed 07/24/12 Page 14 of 22




   57. The Defendant has jointly and severally violated Mr. Frazier’s Civil Rights

       pursuant to 42 U.S.C. §1983 and have unjustly, unfair, and unlawfully

       discriminated against Plaintiff for his race.

   58. Defendant employs policies, practices, and procedures and/or lacks policies,

       practices, and procedures which led to the violation of the Constitutional rights of

       James Frazier. These include, but are not limited to:

             a. Failure to utilize due care in hiring/firing/training employees;

             b. Failing to identify the racially discriminatory propensities of their

                employees;

             c. Failing to ensure that employees do not commit crimes;

             d. Failing to properly train employees to maintain an environment conducive

                to everyone, regardless of race;

             e. Failure to properly supervise;

             f. Utilizing rules and procedures for employees that are incomplete and fail

                to safeguard against Constitutional violations;

             g. Violating the Constitutional rights of employees.

   59. Specifically, the Defendant has violated Mr. Frazier’s rights pursuant to the

       United States Constitution and have caused him harm.

       WHEREFORE, Plaintiff, James Frazier, prays this Honorable Court to award the

following:

       1.       Damages in excess of seventy five thousand ($75,000.00) dollars.

       2.       Punitive and/or exemplary damages.
   Case 2:12-cv-01035-TFM Document 1 Filed 07/24/12 Page 15 of 22




     3.      Reasonable costs, interests, and expenses including but not limited to

             reasonable attorneys fees.

     4.      Any other remedy this Honorable Court may deem appropriate.


COUNT II – RACE DISCRIMINATION IN VIOLATION OF TITLE VII OF THE
                    CIVIL RIGHTS ACT OF 1964
                   James Frazier v. Eric K. Shinseki, Secretary of Veterans Affairs

   61. Paragraphs 1 through 59 are incorporated by reference as if set forth at length.

   61. Plaintiff, James Frazier, was discriminated against on the basis of race in

      violation of Title VII of the Civil Rights Act of 1964, as amended, codified at 42

      U.S.C. §2000e(k).

   62. Plaintiff is a member of a protected class by virtue of him being an African

      American.

   63. Plaintiff was discriminated against in the terms and conditions of his

      employment through unequal wages and lack of promotions during his tenure

      with Defendant.

   64. Plaintiff was/is qualified for her position established substantially by his prior

      performance, including performance evaluations and appraisals, and his

      qualifications in advanced licenses (CDL). Plaintiff was also employed within

      the federal Motor Vehicle classifications since 1989 and has excelled at all

      positions.

   65. Defendant has promoted Caucasian men from less senior roles while never

      giving plaintiff, a minority, an equal opportunity.
     Case 2:12-cv-01035-TFM Document 1 Filed 07/24/12 Page 16 of 22




    66. Defendant has failed and/or refused to fill positions that Plaintiff had applied for

        and left them open. Likewise, Defendant has removed listings in which Plaintiff

        was the only qualified individual.

       WHEREFORE, Plaintiff, James Frazier, prays this Honorable Court to grant the

following:

       1.     Monetary damages in excess of $75,000.00;

       2.     Reasonable costs, interest, and expenses, including but not limited to

              reasonable attorney’s fees;

       3.     Punitive and/or exemplary damages; and

       4.     Any other remedy this Honorable Court may deem appropriate.


COUNT III – RETALIATION FOR TAKING PART IN PROTECTED ACTIVITY
                  James Frazier v. Eric K. Shinseki, Secretary of Veterans Affairs


    67. Paragraphs 1 through 66 are incorporated by reference as if set forth at length.

    68. Plaintiff, James Frazier, was discriminated against as outlined in the above facts

        and counts.

    69. Plaintiff was discriminated against in the terms and conditions of his

        employment and filed a claim with the Office of Resolution Management

        (ORM), Equal Employment Opportunity (EEO).

    70. Plaintiff participated in an EEO investigation under the above discrimination

        counts.

    71. Defendant knew that Plaintiff was participating in the investigation as letters

        were received and responded to prior to some of the adverse employment

        actions.
     Case 2:12-cv-01035-TFM Document 1 Filed 07/24/12 Page 17 of 22




    72. Plaintiff was thereafter continually discriminated against and harassed.

    73. Plaintiff was continually passed over for positions in which he was qualified.

    74. Plaintiff was labeled as being “demoted” even after it came to light in William

        Frazier’s investigation that he set up James to fail, and James has proven that he

        was not a probationary employee.


       WHEREFORE, Plaintiff, James Frazier, prays this Honorable Court to grant the

following:

       1.     Monetary damages in excess of $75,000.00;

       2.     Reasonable costs, interest, and expenses, including but not limited to

              reasonable attorney’s fees;

       3.     Punitive and/or exemplary damages; and

       4.     Any other remedy this Honorable Court may deem appropriate.




      COUNT IV –FAILURE TO TRAIN, DISCIPLINE, AND SUPERVISE
                  James Frazier v. Eric K. Shinseki, Secretary of Veterans Affairs

    75. Paragraphs 1 through 74 are hereby incorporated by reference as if set forth at

        length.

    76. Plaintiff alleges that at all relevant times, Defendant through their agents failed

        to properly train, supervise, or discipline their employees including, but not

        limited to, making inquiries to determine their fitness.

    77. Plaintiff alleges that Defendants are indifferent to the unlawful conduct of their

        employees, even though they have had and continue to have substantial

        knowledge of any and all improprieties.
Case 2:12-cv-01035-TFM Document 1 Filed 07/24/12 Page 18 of 22




78. The action and/or inaction by the Defendant in hiring, training, supervising, and

   disciplining employees and agents, is part of a larger scheme/pattern/practice

   which authorizes/permits and/or authorized/permitted employees and agents, to

   violate the United States Constitution and Pennsylvania law.

79. Plaintiff also alleges that the supervising agents and policymakers of Defendant

   responsible for overseeing and reviewing acts of the Defendant have also failed

   to establish a proper training program, disciplinary procedure, supervisory

   procedure, or other safeguard to enable employees/agents to carry out their duties

   lawfully, properly, and/or Constitutionally.

80. Plaintiff further alleges, upon information and belief, that

      a. The Defendant failed to train, supervise, and discipline its police officers;

      b. Any program that was provided by the Defendant to train, supervise, and

          discipline its employees/agents was inadequate to enable them to carry out

          their duties;

      c. The Defendant was also aware of the obvious need for the adequacy of

          said programs so as to avoid the violation of Constitutional rights of

          others;

      d. The Defendants knew or should have known that the failure to properly

          train, supervise, and discipline its employees was likely to result in the

          violation of Constitutional rights;

      e. The policymakers of VAPHS were deliberately indifferent to the need for

          such training, supervision, and discipline to protect the rights of Plaintiff

          James Frazier and other minority employees;
     Case 2:12-cv-01035-TFM Document 1 Filed 07/24/12 Page 19 of 22




             f. The failure of the Defendant to provide proper training, supervision, and

                discipline has caused the Plaintiff and others to suffer violations of their

                Constitutional rights and created an environment which encourages

                employees to continually discriminate and harass minorities..

    81. All of the above actions have in the past contributed, and will in the future

        continue to contribute, to the improper treatment of James Frazier, and other

        minority employees, so as to imply, by its failure to act, the Defendant tacitly

        authorized a pattern and practice as previously set forth herein.

    82. As a direct and proximate result of the Defendants’ actions herein alleged,

        Plaintiff was caused to suffer emotional injuries with physical manifestations,

        some of which may be permanent; has suffered a demotion with a decrease in

        income and benefits; has lost opportunities to improve professionally; was

        required to obtain legal counsel, at substantial expense and inconvenience; and

        will suffer additional damages in the future, the amount of which have not fully

        been determined, all to his financial detriment.

       WHEREFORE, Plaintiff, James Frazier, prays this Honorable Court to award the

following:

       1.       Damages in excess of seventy five thousand ($75,000.00) dollars.

       2.       Punitive and/or exemplary damages.

       3.       Reasonable costs, interests, and expenses including but not limited to

                reasonable attorneys fees.

       4.       Any other remedy this Honorable Court may deem appropriate.
     Case 2:12-cv-01035-TFM Document 1 Filed 07/24/12 Page 20 of 22




                            SUPPLEMENTAL JURISDICTION

    83. Plaintiff asks this Honorable Court to exercise its supplemental jurisdiction over

        the following Pennsylvania State law claims pursuant to 28 U.S.C. §1367.



    COUNT V – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                  James Frazier v. Eric K. Shinseki, Secretary of Veterans Affairs


    84. Paragraphs 1 through 83 are hereby incorporated by reference as if set forth at

        length.

    85. Defendant acted intentionally and with a reckless disregard for the emotional and

        psychological health of Plaintiff.

    86. Defendant’s conduct was extreme and outrageous in harassing Plaintiff,

        discriminating against Plaintiff, and participating in various other unlawful

        misconduct, as provided above.

    87. Defendant’s acts caused in the past and will continue to cause in the future,

        Plaintiff to suffer severe financial harm and mental distress and anguish.

    88. It was foreseeable for Plaintiff to suffer harm and Plaintiff actually suffered such

        harm.

       WHEREFORE, Plaintiff, James Frazier, prays this Honorable Court to award the

following:

       1.       Damages in excess of two hundred fifty thousand ($75,000.00) dollars.

       2.       Punitive and/or exemplary damages.

       3.       Reasonable costs, interests, and expenses including but not limited to

                reasonable attorneys fees.

       4.       Any other remedy this Honorable Court may deem appropriate.
Case 2:12-cv-01035-TFM Document 1 Filed 07/24/12 Page 21 of 22




                                    Respectfully submitted,

                                    /s/ D. Scott Lautner, Esquire
                                    D. Scott Lautner, Esquire
                                    Attorney for Plaintiff
     Case 2:12-cv-01035-TFM Document 1 Filed 07/24/12 Page 22 of 22




IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT
                       OF PENNSYLVANIA

                                    CIVIL DIVISION


JAMES FRAZIER, Jr.,                           )
                                              )
       Plaintiff,                             )
                                              )
               v.                             )              No.
                                              )
ERIC K. SHINSEKI, Secretary of                )
Veterans Affairs,                             )
                                              )
       Defendants.                            )

                            CERTIFICATE OF SERVICE

       I, D. Scott Lautner, Esquire, certify that a true and correct copy of the within

Complaint in Civil Action was served via U.S. First Class Mail on the 24th day of July

2012 to the following:


   VETERANS ADMINISTRATION PITTSBURGH HEALTHCARE SYSTEM
                        University Drive
                      Pittsburgh, PA 15240


                                                      /s/ D. Scott Lautner, Esquire
                                                       D. Scott Lautner, Esquire
                                                      Attorney for Plaintiff
